        CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 1 of 9




UNITED STATES DISTRICT COURT )
                             ) ss                          20-mj-384 HB
COUNTY OF HENNEPIN           )


                                         AFFIDAVIT

       I, Liane M. Sellner, being first duly sworn, hereby depose and state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

       1.     I am a "federal law enforcement officer" within the meaning of Federal Rule

of Criminal Procedure 4l(a)(2)(C), that is, a government agent engaged in enforcing the

criminal laws and duly authorized by the Attorney General to request a search warrant. I

am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF).

I am a "federal law enforcement officer" within the meaning of Federal Rule of Criminal

Procedure 41(a)(2)(C). I have been a special agent of the ATF since September 2003. I

have participated in investigations of arsons and in other violations of federal law. I have

training and experience in the investigation of Federal laws pertaining to arson. I have

participated in the execution of search warrants in which evidence related to arson was

seized. The investigations have resulted in the arrests of criminal defendants. During my

career, my investigations have included the use of various surveillance techniques and the

execution of various search, seizure, and arrest warrants. I have used historical cell site

analysis to locate phones of subjects and victims in numerous investigations.

       2.     This affidavit is submitted for the limited purpose of establishing probable cause in

support of issuing a complaint and arrest warrant for Montel Terriel LEE for arson on property


                                                1
       CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 2 of 9




used in interstate commerce, in violation of Title 18, United States Code, Section 844(i).

       3.     This affidavit is based on my personal knowledge, as well as information I

have learned from other law enforcement officers and the review of reports, written

materials, and recordings. This affidavit does not include all of the details I have learned

regarding this investigation. Rather, it only includes information believed to be sufficient

to establish probable cause.

                                  PROBABLE CAUSE

       4.     The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other agents and witnesses. This affidavit

is intended to show that there is probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

                                       Background

       5.     On May 25, 2020, George Floyd was involved in an encounter with several

Minneapolis Police Department (MPD) officers which resulted in Mr. Floyd's death and

criminal charges against the MPD officers.

      4.      By the morning of Tuesday, May 26, local and national news outlets had

picked up the story about Mr. Floyd ' s death, and by Tuesday afternoon, thousands of

people were gathered in the area of 3 8th and Chicago A venue to protest the treatment of

Mr. Floyd.

      5.     Following the mostly peaceful protests that occurred on Tuesday night, the

Cities of Minneapolis and St. Paul, and some surrounding communities, have endured three
                                               2
        CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 3 of 9




nights of violence and destruction. Between Wednesday night and the early hours of

Saturday morning, following several organized and peaceful protests, hundreds of

individuals carrying on into the night vandalized and looted local businesses and destroyed

buildings, vehicles, and other property through arson, smashing doors and windows,

hurling objects and other measures. On the night of Wednesday, May 27, for example,

individuals broke into the Target Store and Cub Foods near the East Lake Street/Hiawatha

intersection in Minneapolis, near the site where the police encountered Mr. Floyd that

Monday, vandalized and looted the businesses and then set the buildings on fire. Both

properties were destroyed by fue. Numerous other businesses in the neighborhood and in

the City of St. Paul, were looted or partially destroyed by vandalism and/or fires. On the

night of Thursday, May 28, the Minneapolis Third Precinct police building was overrun

and destroyed by fire .

       6.     On Friday, May 29, 2020, following the first two nights of violence, a

Minneapolis police officer was charged with two felony offenses related to the death of

Mr. Floyd. Mayors in Minneapolis and St. Paul imposed curfews in effect Friday and

Saturday nights, from 8:00 p.m. until 6:00 a.m. , and Minnesota Governor Tim Walz issued

an executive order that implemented the curfew in both cities. The Minneapolis Order, for

example, provides that during the hours of the curfew, "all persons must not travel on any

public street or in any public place." The terms "travel" and "public place" are defined

broadly, to include travel by foot, bicycle, skateboard, automobile or other means of

transporting a person from place to place, on any space, whether publicly or privately
                                            3
        CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 4 of 9




owned, that is accessible to the general public including streets, sidewalks, alleys,

driveways, and vacant properties.

       7.      Despite the curfew order, thousands of individuals remained on the streets

Friday night after 8:00 p.m. into the Saturday morning hours, vandalizing, looting, starting

fires, and otherwise destroying public and private property and endangering life. For

example, vandals broke in to the United States Post Office at 110 East 31st Street, in

Minneapolis and set it on fire; the building was destroyed.

       8.      As of Saturday morning, May 30, the Minneapolis Star Tribune reported that

approximately 246 businesses across the Twin Cities area had been vandalized, looted,

partially or completely destroyed by fire, or otherwise severely damaged.

                             The Arson of the Max It Pawn

       9.      On June 8, 2020, ATF Special Agent Certified Fire Investigators received

information from an anonymous source. The anonymous source forwarded three videos

from an arson of a building later determined to be the Max It Pawn, located at 2726 E Lake

Street, Minneapolis, Minnesota. The arson took place on May 28, 2020.

       10.     The first video begins with people looting the Max It Pawn. Then a masked

man, identified as LEE, is shown pouring liquid out from a metal container throughout the

pawn store. The video then cuts to outside the pawn shop, which is now on fire . LEE is

show, now not wearing a shirt, holding his fist up. The man taking the video exclaims "Oh,

shit- you really did it! "



                                            4
       CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 5 of 9




       11.    The second video begins with the man identified as LEE standing in front of

the pawn shop as it is in flames The individual filming asks LEE "What you do, Tez?"

LEE responds "Fuck this place. We ' re gonna bum this bitch down."

       12.    The third video begins with a group of men, including the man identified as

LEE, joking about restaurants they are going to "hit" next. It then cuts to a recording of a

cell phone showing the looting of the pawn shop.




                                            5
          CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 6 of 9




Figure 1: A still from the first video, showing the   Figure 2: The man later identified as LEE, in front of the
pouring of liquid over the pawn shop.                 burning pawn shop.


         13.      On June 8, 2020, a Special Agent Certified Fire Investigator forwarded an

image from the videos to the Rochester Minnesota Police Intelligence Unit. That unit

was able to determine the subject depicted in the video was Montez Terrill LEE, date of

birth 4/22/1995.




                                                      6
          CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 7 of 9




Figure 3: Cropped image         Figure 4: Booking photographs of LEE.
of the man in front of the
burning pawn shop.



                   14.       Additionally, tattoos of the man in front of the burning pawn shop are

         consistent with known tattoos ofLEE's.




Figure 5: Known tattoo on LEE 's                 Figure 6: Cropped image of right forearm of man in front
right forearm.                                   of burning pawn shop {upside down to match the
                                                 orientation of Figure 5).

                                                       7
        CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 8 of 9




       15.     LEE is known to maintain a Facebook account under the usemame "Prod

TheMastermind."     JOHNSON is known to maintain a Facebook account under the

usemame "TheArnbassador Don." In a publicly available post following the burning of

the Max It Pawn, a post was made on LEE's account from JOHNSON's account. The post

stated "Prod The Real Activist Doe" and was followed by "emojis" of a laughing face, fire,

and a skull.

       16.     On June 10, 2020, ATF Special Agent Brian Parker told me that he had

spoken with Kim Baney, Loss Prevention Manager for EZCorp. Kim Baney told Agent

Parker that Max It Pawn is a holding of EZCorp. Which is based in the state of Texas.




                                            8
CASE 0:20-cr-00168-WMW-ECW Doc. 1-1 Filed 06/11/20 Page 9 of 9
